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                                                                                                               Document98 Filed
                                                                                                                          Filed05/04/17
                                                                                                                                05/08/17 Page
                                                                                                                                          Page  1 of
                                                                                                                                              1 of 43



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                                                                                  Attorneys for Xerxes Corporation
                                                                             8
                                                                                                         UNITED STATES DISTRICT COURT
                                                                             9

                                                                             10                                  DISTRICT OF NEVADA
                                                                             11
                                                                                  TRUCK INSURANCE EXCHANGE, A/S/O LV            Case No. 2:17-cv-00950-JAD-PAL
Gordon & Rees Scully Mansukhani, LLP
                                       300 South Fourth Street, Suite 1550




                                                                             12   PETROLEUM, LLC, a Nevada limited liability
                                                                                  company,                                      STIPULATION BETWEEN
                                                                             13                     Plaintiff,                  PLAINTIFF AND XERXES
                                              Las Vegas NV, 89101




                                                                                         vs.                                    CORPORATION TO REMAND TO
                                                                             14   XERXES CORPORATION, a Delaware                STATE COURT
                                                                                  corporation; WESTEST INCORPORATED, an
                                                                             15                                                         ECF No. 8
                                                                                  Arizona corporation; DOES 1 through 10; and
                                                                             16   ROE CORPORATIONS 1 through 10,

                                                                             17                    Defendants.

                                                                             18   XERES CORPORATION, a Delaware
                                                                                  corporation;
                                                                             19

                                                                             20                    Cross-Claimant,

                                                                             21   WESTEST INCORPORATED, an Arizona
                                                                                  corporation,
                                                                             22

                                                                             23
                                                                                                   Cross-Defendants.

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                                                                                                               Document98 Filed
                                                                                                                          Filed05/04/17
                                                                                                                                05/08/17 Page
                                                                                                                                          Page  2 of
                                                                                                                                              2 of 43



                                                                              1          Plaintiff Truck Insurance Exchange, as Subrogee of LV Petroleum, LLC (“Plaintiff”), by
                                                                              2   and through its counsel of record, Robert S. Qualey, Esq. and Cybill L. Dotson, Esq. of Qualey
                                                                              3   Law Group, and Defendant Xerxes Corporation (“Xerxes”), by and through its counsel for record,
                                                                              4   Robert S. Larsen, Esq. and Rachel L. Wise, of Gordon Rees Scully Mansukhani, LLP, hereby
                                                                              5   stipulate and agree as follows:
                                                                              6          1.      On January 24, 2017, Plaintiff commenced the action Truck Insurance Exchange,
                                                                              7   A/S/O LV Petroleum, LLC, v. Xerxes Corporation, Westest Incorporated, Case No.: A-17-
                                                                              8   750000-C in Department XXVIII of the Eighth Judicial District Court in and for Clark County
                                                                              9   (the “State Court Action”).
                                                                             10          2.      The State Court Action alleged Plaintiff, Truck Insurance Exchange and LV
                                                                             11   Petroleum were both citizens of the State of Nevada. (ECF No. 1 at Ex. A ¶ 1).
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                                                                             12          3.      Xerxes is a citizen of Delaware and with its principal place of business in
                                                                             13   Minnesota. 28 U.S.C. § 1332(c). (ECF No. 1 ¶ 15, 16).
                                              Las Vegas NV, 89101




                                                                             14          4.      On April 4, 2017, Xerxes filed a notice of removal of the State Court Action
                                                                             15   pursuant to 28 U.S.C. §§ 1132 and 1441 (“Notice of Removal”) with the United States District
                                                                             16   Court, District of Nevada (ECF No. 1), removing the State Court Action to this Court as Case
                                                                             17   No.: 2:17-cv-00950-JAD-PAL.
                                                                             18          5.      After Xerxes filed the Notice of Removal with this Court, Xerxes discovered
                                                                             19   additional information that suggested diversity jurisdiction does not exist.
                                                                             20          6.      On May 2, 2017, Plaintiff informed Xerxes that Truck Insurance Exchange
                                                                             21   operates as an unincorporated entity with insurance policy holders in Nevada, Delaware,
                                                                             22   Minnesota, and Arizona.
                                                                             23          7.      Based upon this new information, the parties believe that diversity of citizenship
                                                                             24   between the parties does not exist in this action.
                                                                             25          8.      The Parties hereby agree and stipulate that (i) the Federal Court Action should be
                                                                             26   remanded to the state court in which it was initiated; and (ii) each party shall bear its own
                                                                             27   attorneys’ fees and costs under 28 U.S.C. § 1147 with respect to the removal and the subsequent
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                                                                                   Case2:17-cv-00950-JAD-PAL
                                                                                         2:17-cv-00950-JAD-PAL Document
                                                                                                               Document98 Filed
                                                                                                                          Filed05/04/17
                                                                                                                                05/08/17 Page
                                                                                                                                          Page  3 of
                                                                                                                                              3 of 43



                                                                              1   remand of this action pursuant to this stipulation.
                                                                              2          Pursuant to the foregoing, the parties respectfully request that the Court enter the
                                                                              3   Stipulated Order submitted contemporaneously herewith.
                                                                              4          IT IS SO STIPULATED.
                                                                              5         Dated: May 4, 2017.                                Dated: May 4, 2017.
                                                                              6
                                                                                        QUALEY LAW GROUP                                   GORDON & REES SCULLY
                                                                              7                                                            MANSUKHANI, LLP

                                                                              8     By: /s/ Cybill L. Dotson                            By: /s/ Rachel L. Wise
                                                                                         Robert S. Qualey, Esq.                              Robert S. Larsen, Esq.
                                                                              9          State Bar No. 3570                                  State Bar No.: 7785
                                                                             10         Cybill L. Dotson, Esq.                               Rachel L. Wise, Esq.
                                                                                         State Bar No. 8428                                  State Bar No.: 12303
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                                                                             12          Attorneys for Plaintiff Truck Insurance             Attorneys for Defendant Xerxes
                                                                                         Exchange, A/S/O LV Petroleum, LLC                   Corporation
                                                                             13
                                              Las Vegas NV, 89101




                                                                             14
                                                                                                                                ORDER
                                                                             15

                                                                             16    Because it appears from the parties' stipulation [ECF No. 8] that the parties are not
                                                                                   diverse and, therefore, this court lacks jurisdiction over this action, IT IS HEREBY
                                                                             17
                                                                                   ORDERED that this action is REMANDED to the Eighth Judicial District Court,
                                                                             18    Clark County, Nevada, CASE No. A-17-750000-C, Dept. XXVIII. The Clerk of
                                                                                   Court is instructed to CLOSE THIS CASE.
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                                                                             20                                                           U.S. District
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                                                                                                                                                          Judge
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